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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 22-CV-60450-RS

MARCELIN LIBERAL, individually, and on
behalf of all others similarly situated,

       Plaintiff(s),

v.

HEALTHCARE REVENUE RECOVERY
GROUP, LLC, and MEMORIAL REGIONAL
HOSPITAL SOUTH AUXILIARY, INC.,

      Defendants.
________________________________________/

                                    ORDER OF DISMISSAL

       This matter is before the Court upon the parties’ Joint Stipulation of Dismissal with Prejudice

as to Plaintiff’s Claims Against Healthcare Revenue Recovery Group, LLC, and Dismissal without

Prejudice as to any Claims for Prospective Class Members [DE 35]. Accordingly, it is hereby,

       ORDERED that:

       1.      This matter is DISMISSED with prejudice.

       2.      All pending motions are DENIED as moot.

       3.      Each party shall bear its own attorneys’ fees and costs.

       4.      This case is CLOSED.

       DONE and ORDERED in Fort Lauderdale, Florida, this 27th day of March, 2023.




 cc:    All Counsel of Record
